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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 RUSSELL KANE,                                                   :
                                                                 :
                                                                 :   ORDER REGULATING
                                                                 :   PROCEEDINGS
                                          Plaintiff,
                                                                 :
              -against-                                          :   20 Civ. 3234 (AKH)
                                                                 :
                                                                 :
                                                                 :
 NBC SPORTS GOLD, LLC, et al.,                                   :
                                          Defendants.            :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On November 6, 2020, I held a telephonic status conference in the above-

captioned matter. This matter shall proceed as follows:

                 1. On or before Wednesday, November 11, 2020, Defendant shall, by email to

                     Plaintiff, describe the modifications made to the web page about which

                     Plaintiff complains, provide screen shots thereof, and state its opinion as to the

                     sufficiency of said web page, as modified, under law. Plaintiff shall, by email

                     sent the next day to Defendant, describe any remaining deficiencies. The

                     parties shall seek to resolve such deficiencies and, by November 18, 2020, by

                     joint letter filed on ECF, describe any disagreements.

                 2. The parties shall appear for a telephonic status conference in this case on

                     November 20, 2020, at 10:00 a.m. The conference will be held via the

                     following call-in number:

                                   Dial: 888-363-4749

                                   Access code: 7518680
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                All participants are directed to call in at least 5 minutes prior to the start of the

                conference. No later than November 18, 2020, at 12:00 p.m., the parties shall

                jointly submit to the court (via the email address

                HellersteinNYSDChambers@nysd.uscourts.gov) a list of all counsel expected

                to appear on the record, along with their contact information.

             SO ORDERED.

Dated:       November 9, 2020                _________/s/______________________
             New York, New York                   ALVIN K. HELLERSTEIN
                                                   United States District Judge
